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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

GARY KOOPMANN, TIMOTHY KIDD and                 :   Civ. Action No: 15-cv-07199-JMF
VICTOR PIRNIK, Individually and on Behalf of    :
All Others Similarly Situated,                  :
                                                :   CLASS ACTION
                                Plaintiff(s),   :
                                                :   PLAINTIFFS’ OPPOSITION TO
                                                :
                     v.                             DEFENDANTS’ MOTION TO
                                                :   DISMISS THE EMISSIONS-
                                                :   RELATED CLAIMS FROM THE
                                                :
                                                    FOURTH AMENDED
FIAT CHRYSLER AUTOMOBILES N.V.,                 :   COMPLAINT
FCA US, LLC, SERGIO MARCHIONNE,                 :
RICHARD K. PALMER, SCOTT                        :
KUNSELMAN, MICHAEL DAHL, STEVE                  :
MAZURE, and ROBERT E. LEE,                      :
                                                :
                               Defendants.      :
                                                :
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                                 PRELIMINARY STATEMENT

       On August 1, 2017, granting Plaintiffs an opportunity to amend their emission-related

claims, the Court set forth what would be needed to plead scienter:
       [I]f Plaintiffs can allege that the EPA gave notice to high-level FCA officials that
       the vehicles at issue had unlawful defeat devices (or undisclosed software that the
       company was required to disclose), their allegations would be much like those
       that the Court found sufficient with respect to Plaintiffs’ allegations regarding
       compliance with safety-related regulations.

ECF at 13. As to Plaintiffs’ allegations regarding safety-related regulations, this Court found that

“letters from NHTSA to high-level FCA officials expressing concerns with respect to certain
FCA recalls adequately established scienter.” Id.1

       The Fourth Amended Complaint (“Complaint”) has easily met this burden. Between

September 2015 and January 2016, immediately following the revelation of Volkswagen’s

“Dieselgate”, the EPA informed the highest-level executives at FCA that the EPA had concerns

about the AECDs on the Company’s Jeep Grand Cherokee and Ram 1500 3.0 diesel vehicles (the

“Trucks”) and had observed illegally high levels of NOx emission. The EPA emphasized that

“at least one of the AECDs in question appears to me violate EPA’s defeat device regulations.”

¶¶ 427-429.2 By January 7, 2016, the EPA had grown frustrated with FCA’s response: “I am

very concerned about the unacceptably slow pace of the efforts to understand the high NOx

emissions we have observed.” Id. ¶ 429. These communications were with Michael Dahl

(“Dahl”)—Head of Vehicle Safety and Regulatory Compliance at FCA—who, like Scott
Kunselman (“Kunselman”) whom he replaced, reported directly to Sergio Marchionne

(“Marchionne”). Marchionne later admitted that the EPA had informed him of its “concerns”

about the AECDs on the Trucks even earlier: “obviously, we knew that they had concerns. We

have been in dialogue with them now since September 2015. It could have been even earlier.” ¶

422.   Despite the critical importance of this issue to investors in the wake of Dieselgate,

       1
           Unless otherwise noted, all emphasis has been added.
       2
           Unless otherwise noted, all references to “¶” are to the Complaint. ECF 129.


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Marchionne nevertheless not only concealed this information but also went out of his way to

reassure investors on January 27, 2016 that “we feel comfortable in making the statement that

there are no defeat mechanisms or devices present in our vehicles.” ¶ 343. And on February 2,

2016, FCA issued a press release stating that it “has confirmed that its diesel engine applications

comply with applicable emissions regulations.” ¶ 345. Defendants knew that making these

statements without also informing investors that the EPA believed the Trucks did emit illegal

levels of NOx and contain defeat devices would mislead investors. Novak v. Kasaks, 216 F.3d

300, 311 (2d Cir. 2000) (scienter inferred where defendants “knew facts or had access to

information suggesting that their public statements were not accurate”); see Omnicare, Inc. v.

Laborers Dist. Council Constr. Indus. Pension Fund, 135 S. Ct. 1318, 1329 (2015) (“if the

issuer made the statement . . . with knowledge that the Federal Government was taking the

opposite view, the investor again has cause to complain”).

       There is further evidence that Defendants knew the Trucks were emitting illegal levels of

NOx as far back as August 2014, instituting various field fixes.          A confidential witness

confirmed that by the summer of 2015, the Trucks were still emitting illegal levels of NOx and

the Company knew that it was caused by the software in the engines. Robert E. Lee (“Lee”), who

reported to Marchionne, assembled a special team to address the issue: “It went all the way up to

Bob Lee … That [issue] was the number one priority all of the sudden … The details were kind
of hush hush … It was a secretive mission if you will. It was not public knowledge.” ¶ 241.

       Indeed, there is a strong inference that Defendants knew that the Trucks were not

compliant when applying for an EPA Certificate of Conformity (“COC”). Dahl and Lee were

the executives that developed and programmed the engine in the Trucks. Steve Mazure, who

reported to Dahl, was responsible for the accuracy of the COC application, which was required

to disclose all AECDs (whether legal or illegal) on the Trucks. Nevertheless, while each COC

application for the Trucks (for each model year 2014, 2015 and 2016) disclosed every other

AECD on the Trucks, each application omitted the eight AECDs that the EPA determined were
defeat devices.   Given all the concealment and misrepresentations that followed, the only

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plausible inference is that these eight AECDs were omitted from each COC application over a

three year period because Defendants knew that the EPA would have concerns about them.

       At every turn, Defendants concealed, misled and outright lied about the existence of the

AECDs on the Trucks, the Trucks high NOx emissions, and the EPA’s concerns about the

Trucks. The inference of scienter is not only at least as strong as a non-culpable inference, it is

the only plausible inference.

        FACTUAL ALLEGATIONS CONCERNING EMISSIONS VIOLATIONS

  I.   The Trucks’ Compliance With Emissions Regulations Was Critical to FCA
       During the Class Period, it was critical for the Trucks to comply with emissions

regulations. In 2015, 78% of FCA’s U.S. sales came from light-duty trucks, delivering 90% of its

profit. ¶ 221. FCA described the EcoDiesel engine that powered the Trucks as “Our flagship

diesel engine.” ¶ 276. Sales of the Trucks were driving FCA’s financial success in the U.S. as

sales of passenger cars faltered. ¶¶ 223-226. FCA attributed the success of the Trucks to the

diesel engine, touting it as “unique” because it was compliant with emissions regulations without

sacrificing the characteristics of speed, torque, and the like that consumers value highly. ¶¶ 222,

276. Defendants also acknowledged in FCA’s SEC filings that compliance with emissions

regulations threatened these profits. E.g. ¶ 272. This risk hit fever pitch in September 2015

when the EPA issued a notice of violation (“NOV”) of the Clean Air Act to Volkswagen, stating

that certain of its diesel vehicles included defeat devices. ¶ 218. On January 6, 2016, the DOJ

filed a civil suit against Volkswagen, which resulted in $35 billion in fines and other fees. Id.

 II.   FCA’s Obligation To Comply With Emissions Standards and Disclose All AECDs

       Every auto manufacturer must control NOx emissions in order to meet the EPA’s

regulatory requirements. The EPA requires every vehicle sold in the U.S. to obtain a COC

certifying that a vehicle class conforms to EPA requirements. ¶¶ 208-210. As part of this

program, the EPA requires auto manufacturers to disclose in its COC application all auxiliary
emission control devices (“AECDs”) installed on vehicles. ¶ 213. An AECD is any aspect of the


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vehicle that effects the “operation of any part of the emission control system.”             Id. The

manufacturer must also include a justification for each AECD “and [a] rationale for why it is not

a defeat device.” Id. A “defeat device” is any piece of software that can “bypass, defeat, or

render inoperative” any emissions compliance device/software. ¶ 215. Failure to disclose any

AECD, regardless of its legality, is a serious violation of the Clean Air Act. ¶¶ 214-216.

III.   FCA’s Emissions Violations

       FCA violated the Clean Air act because the Trucks’ engines contained eight AECDs that

(i) were never disclosed by FCA in its COC application to the EPA and CARB, (ii) caused the
vehicles to emit illegal levels of NOx, and (iii) were defeat devices. ¶¶ 229-237. Among the eight

undisclosed AECDs were AECD#1 which completely shut-off the exhaust gas recirculation

(“EGR”) system (which reduces NOx emissions) anytime the Trucks were travelling at

highway speed. ¶¶ 232-233. AECD#3 used a timer to shut off the EGR, which does not meet

any exceptions to the regulatory definition of “defeat device.” Id. Approximately 104,000 FCA

vehicles in the U.S. alone contained this undisclosed and illegal software. ¶ 236.

IV.    Defendants Were Aware Of The Undisclosed AECDs, Their Illegal
       Purpose And That The Trucks Were Emitting Illegal Levels of NOx

       A.      Defendants Were Intimately Involved In The Development,
               Programming and Certification Of The Trucks’ EcoDiesel Engine

        FCA created all the AECDs contained on the Trucks. ¶ 406. The EcoDiesel engine in the

Trucks was developed by Dahl, who was Director of FCA US’s diesel engine program prior to

November 2015. ¶ 53. At that time, Dahl replaced Kunselman as head of Vehicle Safety &

Regulatory Compliance, reporting directly to Marchionne. Id. Lee was in charge of programming

the engine, reporting to Marchionne. ¶¶ 54, 339. Mazure was Senior Manager, Environmental

Certification for FCA US. ¶ 55. Reporting to Dahl, Mazure was responsible for ensuring the

accuracy of FCA’s COC applications for the Trucks, including the disclosure of all AECDs. Id.

       Throughout the Class Period, Marchionne repeatedly told investors that emissions
compliance was under heightened government scrutiny (¶¶ 478-480, 482, 490), it was of critical

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importance to him (¶¶ 479-481), he was personally focused on emissions compliance (¶¶ 477-

482), he understood the details of FCA’s emissions software (¶¶ 478, 480-481, 483-484) and he

was personally involved in assuring emissions compliance and that the Company’s emissions

software was EPA compliant. ¶¶ 220, 349, 481. On August 12, 2014, FCA announced the

establishment of a new office of Vehicle Safety and Regulatory Compliance, headed by

Kunselman and “report[ing] directly to the CEO [Marchionne]” in order to “intensify the

Company’s continuing commitment to vehicle safety and regulatory compliance” and “ensuring

a high level of information flow and accountability.” ¶¶ 256, 383, 304. In November 2015, Dahl

– the developer of the EcoDiesel engine in the Trucks – replaced Kunselman. ¶ 53.

       Confidential witnesses that worked on emissions testing during the Class Period

confirmed that Lee and Marchionne received regular reports on emissions software and testing,

that Marchionne was focused on the EPA’s emissions tests, and that he made the ultimate

decisions on which emissions software would be installed in FCA’s vehicles. ¶¶ 450, 461-462.

       B.      Defendants Were Aware That The Trucks Were Emitting
               Illegally High Levels Of NOx Because Of The AECDs

       By August 2014, Defendants were aware that the Trucks were emitting NOx emissions

above the legal limits and the limits the Company had represented to the EPA and CARB. ¶¶

439-449. While the Company sent Service Bulletins to dealers in response, telling them to

update the software on the Trucks or adjust certain components of the emissions system (see, e.g.

Levy Decl. Ex. 3, 4), those bulletins did not identify any of the AECDs, state that the NOx

emissions were too high, or that the vehicles were violating emissions regulations. ¶ 418.

       According to Confidential Witness #3 (“CW3”), a Program Manager of Advanced

Powertrain in Auburn Hills, Michigan during the Class Period, management knew by summer

2015 that “they had an issue with the software”, which was causing the vehicles to emit more

NOx than what FCA was reporting to the EPA. ¶ 423. “Whatever they were reporting on the

label, whatever they told the government, they found out they weren’t meeting those.” Id. “It was
a big issue,” CW3 said of the emissions discrepancy. Id. Lee formed a team to address the issue

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and was pulling engineers and tech specialists from several different departments to work on it.

Id. “That [issue] was the number one priority all the sudden … It was a secretive mission if you

will. It wasn’t public knowledge.” Id.

       In 2015, Defendants instituted a secret “field fix” on the Trucks of AECD#1. ¶¶ 239, 415.

The field fix was done by updating the vehicle’s software, which was done without ever

disclosing the existence of AECD#1. By updating the software, AECD#1 was automatically

removed anytime the Trucks were brought into the dealership. ¶¶ 415-421. The field fix, like all

recalls and field fixes, was presented to and approved by the Company’s Vehicle Regulations

Committee (“VRC”), which was chaired by Kunselman (and later Dahl) and included Lee. ¶ 416.

However, by limiting its efforts to a “filed fix” as opposed to a full-fledge recall, Defendants

were able to conceal the existence of the defeat devices and illegally high NOx emissions. As

part of normal reporting procedures established in November 2014, all recalls and field fixes

were reported to Marchionne through formal memos that were published “within 48 hours of

[the] meeting[‘s] conclusion.” ¶¶ 416, 420. Nevertheless, the Trucks continued to emit illegally

high levels of NOx even after the field fix, which Defendants continued to conceal.

       C.      Director of EPA Emissions Informed Dahl and Marchionne That The Trucks
               Were Emitting Illegally High Levels Of NOx And Contained Defeat Devices

       By no later than September 2015, the EPA had informed Marchionne that it had

identified undisclosed AECDs that it had determined were defeat devices. As Marchionne was

later forced to admit: “obviously, we knew that they had concerns. We have been in dialogue

with them now since September 2015. It could have been even earlier.” ¶¶ 240, 422.

       Between September 2015 and January 13, 2016, the EPA’s concerns resulted in

numerous communications and meetings between Dahl, Mazure and their team and Christopher

Grundler – the Director of the EPA Office of Transportation and Air Quality (“EPA Emissions

Office”) – and his team. ¶¶ 427-433. For example, on November 25, 2015, Dahl, Mazure and

others met with the EPA. At this meeting, the EPA identified several AECDs in the Trucks that
the EPA believed “violate EPA’s defeat device regulations” concerning NOx emissions. ¶ 427.

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       On January 7, 2016, Byron Bunker, the Director of Compliance for the EPA Emissions

Office sent an urgent email (marked as “High Importance”) requesting a phone call with Dahl

and Mazure for that same day because “I am very concerned about the unacceptably slow pace

of the efforts to understand the high NOx emissions we have observed” from the Trucks,

reiterating that “at least one of the AECDs in question appears to me violate EPA’s defeat

device regulations.” ¶ 429. Following additional communications concerning the violations

January 8, and 11, 2016, Dahl and his team met in person with the EPA and CARB on January

13, 2016. ¶ 431. None of these meetings, the EPA’s concerns about the high levels of NOx,

defeat devices or FCA’s “unacceptably slow pace” in response, were disclosed to investors.

 V.    Materially False and Misleading Statements Issued During the Class Period

       In each of the Trucks’ COC applications, which were publicly posted on the EPA

website, Mazure represented that the Trucks complied with the Clean Air Act and that all the

AECDs on the Trucks were disclosed. ¶¶ 249, 251, 253, 258, 286, 318. Throughout the Class

Period, Defendants also repeatedly assured investors that FCA (1) was in compliance with

emissions regulations (2) “constantly monitor[s] such requirements and adjust[s] our operations

to remain in compliance”, and (3) conducted an audit to ensure that all emissions software was

disclosed and legal. ¶¶ 272-276, 339, 348-353.

       Specifically, during a January 27, 2016 earnings call, Marchionne addressed the issue of

software regulating NOx emissions in the wake of Volkswagen’s “Dieselgate” scandal. He
affirmatively assured investors that he had “audited” the software, all software was disclosed and

that none of FCA’s vehicles contained defeat devices:
       [A]fter the advent of dieselgate, for a lack of a better term, FCA has undertaken a
       pretty thorough review and a thorough audit of its compliance teams. I think we
       feel comfortable in making the statement that there are no defeat mechanisms or
       devices present in our vehicles … This is an area of heightened concern. . . . We do
       have a best practice program to ensure that we calibrate and certify properly.
¶ 343. These assurances were followed by a press release on February 2, 2016 stating “FCA has
conducted a thorough internal review of the application of this technology in its vehicles and has


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confirmed that its diesel engine applications comply with applicable emissions regulations.” ¶

345. Similarly, FCA’s annual report filed with the SEC on February 29, 2016 stated, “all current

production vehicle calibrations are compliant with applicable regulations …” ¶ 349. Defendants

made other statements concerning FCA’s compliance with NOx and diesel emissions regulations

on May 23, and September 22, 2016, as well as January 12, 2017 (¶¶ 358, 361, 367), misleading

investors into believing that FCA was in compliance with emissions regulations.

VI.    The Truth Begins to Emerge

       On January 12, 2017, the EPA and CARB each issued a NOV to FCA for installing and
failing to disclose engine management software that resulted in illegal emissions from the

Trucks. ¶ 364. The EPA found “at least eight undisclosed pieces of software that can alter how a

vehicle emits air pollution.” Id. The EPA and CARB concluded that FCA intentionally violated

emissions regulations. Id. “This is a clear and serious violation of the Clean Air Act,” CARB

Chair Mary D. Nichols stated “[FCA] made the business decision to skirt the rules and got

caught.” Id. The EPA’s disclosure of the NOV stated “FCA did not disclose the existence of

certain [AECDs] to EPA in its applications for certificates of conformity for model year 2014,

2015 and 2016 Jeep Grand Cherokees and Dodge Ram 1500 trucks, despite being aware that

such a disclosure was mandatory.” Id. Moreover, “some of these AECDs appear to cause the

vehicle to perform differently when the vehicle is being tested for compliance with the EPA

emission standards … than in normal operation and use.” Id. Despite having been aware of the
EPA’s conclusion that these AECDs were defeat devices for well over a year, “To date, despite

having the opportunity to do so, FCA has failed to demonstrate that FCA did not know, or

should not have known, that a principal effect of one or more of these AECDs was to bypass,

defeat, or render inoperative one or more elements of design installed to comply with

emissions standards under the CAA.” Id. Similarly, the EPA concluded “To date, despite

having the opportunity to do so, FCA has failed to establish that these are not defeat devices.”
Id. On this news FCA’s stock price dropped 12%. ¶ 366.


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         On May 23, 2017, the DOJ announced the filing of a complaint asserting that FCA

utilized and did not disclose defeat devices on its Trucks. FCA’s stock price declined 5.2%. ¶

38-39.

                                          ARGUMENT

  I.     The Complaint Alleges A Strong Inference of Scienter

         “[S]cienter can be established by alleging facts to show … strong circumstantial

evidence of conscious misbehavior or recklessness.” ECA & Local 134 IBEW Jt. Pension Trust

of Chi., 553 F.3d 187, 198 (2d Cir. 2009).           Recklessness is “conduct which is highly
unreasonable and which represents an extreme departure from the standards of ordinary care ....”

Honeyman v. Hoys (In re Carter-Wallace, Inc. Sec. Litig.), 220 F.3d 36, 39 (2d Cir. 2000)

(citation omitted). Specifically, a strong inference of scienter exists where a complaint alleges

that the defendants: (1) “engaged in deliberately illegal behavior”; (2) “knew facts or had access

to information suggesting that their public statements were not accurate”; or (3) “failed to check

information they had a duty to monitor” ECA, 553 F.3d at 199 (citations omitted). Scienter

allegations must be viewed holistically. The issue is “whether all of the facts alleged, taken

collectively, give rise to a strong inference of scienter, not whether any individual allegation,

scrutinized in isolation, meets that standard.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551

U.S. 308, 322-23 (2007). The inference of “scienter need not be irrefutable, i.e., of the ‘smoking

gun’ genre, or even the ‘most plausible of competing inferences.’”             Id. at 324. Rather an

inference of scienter is sufficient if a reasonable person would deem it “at least as compelling as

any opposing inference one could draw from the facts alleged.” Id. at 324. If the inferences for

and against scienter are in “equipoise,” the complaint survives. Id. at 331.
            A. Defendants’ Actual Knowledge of Emissions
               Violations Supports A Strong Inference Of Scienter

         Scienter is adequately alleged when plaintiffs “have specifically alleged defendants’
knowledge of facts or access to information contradicting their public statements. Under such


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circumstances, defendants knew or, more importantly, should have known that they were

misrepresenting material facts related to the corporation.” Novak, 216 F.3d at 308.

       There can be no dispute that Marchionne and his direct reports in charge of emissions

compliance, Dahl, Kunselman and Lee, knew that FCA was having serious emissions

compliance problems caused by the AECDs on the Trucks. By August 2014, they knew the

Trucks were emitting higher levels of NOx than represented to the EPA. By the summer of

2015, they knew the software was the cause of the illegally high emissions, creating a dedicated

team to address the compliance violation, headed by Lee. By no later than September 2015, the

Director of the EPA’s Emissions Office (the highest ranking official) as well as its Director of

Compliance repeatedly contacted Marchionne and Dahl because the EPA determined that FCA’s

Trucks contained defeat devices. Scienter is adequately alleged. Novak, 216 F.3d at 311.

       Defendants’ communications with the EPA alone are sufficient to plead a strong

inference of scienter. The Supreme Court considered a similar situation in Omnicare:
       Consider an unadorned statement of opinion about legal compliance: “We believe
       our conduct is lawful.” . . . [I]f the issuer made the statement . . . with knowledge
       that the Federal Government was taking the opposite view, the investor again
       has cause to complain.

135 S. Ct. at 1329.3 In addition to Defendants’ actual knowledge that the software on the Trucks

was permitting illegally high levels of NOx, the EPA had clearly indicated that it was “taking the

opposite view” as to FCA’s assertion of compliance and the absence of defeat devices.

       Defendants did not merely make general statements of compliance, but rather specifically

reassured investors as to NOx emissions compliance, the software, and defeat devices. It is

undeniable that the omitted facts, especially in the immediate aftermath of Dieselgate “conflict

       3
          Although Omnicare addressed whether statements of opinion are misleading, it is
instructive as to Defendants’ scienter for their non-opinion statement of compliance because “the
question of scienter largely turns on the same considerations as those concerning the Defendants’
statements of opinion.” In re BioScrip, Inc., 95 F. Supp. 3d 711, 732 (S.D.N.Y. 2015) (Nathan,
J.); see Sanofi Secs. Litig. v. Meeker, 87 F. Supp. 3d 510, 534 (S.D.N.Y. 2015) (Engelmayer, J.)
(“[W]here plaintiffs allege a false statement of opinion, ‘the falsity and scienter requirements are
essentially identical’”).


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with what a reasonable investor would take from the statement [of compliance] itself.”

Omnicare, 135 S. Ct. at 1329.        “[B]y making a detailed factual statement, contradicting

important data to which [Defendants] had access, a strong inference arises that [Defendants]

knowingly misled the public as to its clear meaning.” Reese v. Malone, 747 F.3d 557, 572 (9th

Cir. 2014) (internal quotation marks omitted). It is simply implausible to infer that Defendants

did not know that their statements to the market were false and misleading (or that their

statements presented a danger of misleading investors). At the very least, Defendants were

deliberately reckless in making their statements, and the inference of scienter is equally strong.

       The inference of scienter is further strengthened by Dahl’s email to the EPA immediately

following the February 2, 2016 press release that stated “[FCA’s] diesel engine applications

comply with applicable emissions regulations.” ¶ 345. Attempting to prevent a backlash from the

EPA for the false statement, Dahl pointed out that the statement, although referring to all of

FCA’s diesel vehicles was “released from our European office”, asserting that technically “this is

not a statement about NAFTA diesels.” ¶ 346. This contemporaneous email demonstrates that

Defendants knew that the statement would mislead a reasonable investor.

       In response, Defendants assert that the concerns expressed by the EPA to Defendants

were merely part of a general “dialogue” that the EPA was having with all manufacturers, that

the EPA’s determination concerning defeat devices was preliminary, and that Defendants did not
have an independent duty to disclose this information. Def. Br. at 11-15.

       Defendants’ argument does not address that (i) Defendants knew by August 2014 that the

Trucks were emitting high levels of NOx, (ii) Defendants knew by the summer of 2015 that the

AECDs were causing the high emissions (Ecodiesel engines are only in FCA’s Trucks); or (iii)

that the EPA’s correspondence also states unequivocally that they had observed “high NOx

emissions” in the Trucks. Pirnik v. Fiat Chrysler Autos., N.V., 2016 U.S. Dist. LEXIS 138439,

at *25-26 (S.D.N.Y. Oct. 5, 2016) (Furman, J.) (scienter adequately alleged for assurances

regarding FCA’s safety-related compliance and accountability despite “knowledge of the
company’s noncompliance with respect to at least some recalls”).

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       While Defendants repeatedly refer to their communications with the EPA as an

“informal”, “preliminary” “dialogue” with FCA’s “employees” those characterizations are

contradicted by Defendants’ actual communications with the EPA. Marchionne and Dahl – the

highest echelons of FCA – were informed of the EPA’s position in 2015 by the Director of the

EPA’s Emissions Office as well as the Director of Compliance, who were among the highest

ranking officials at the EPA. Marchionne later self-servingly characterized Defendants’

communications with the EPA as a “dialogue” following the publication of the EPA NOV in an

attempt to down-play the seriousness of the issue. ¶¶ 240, 422. The September 25, 2015 letter

from Byron Bunker of the EPA to all manufacturers submitted by Defendants is a red herring as

it does not relate to the EPA’s specific concerns as to the Trucks. Instead, it merely provided

notice to all manufacturers that the EPA would be testing vehicles under real-world driving

conditions. And as Marchionne later admitted, by that time the EPA had already expressed

“obvious” “concerns” to him about the Trucks. Id. Contrary to Defendants’ efforts to spin the

facts and rewrite history this was no preliminary dialogue. In any event, Defendants’ interjection

of new “facts” in hopes of confusing the issue cannot be considered on a motion to dismiss.

Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir. 1985) (the Court’s function on a motion to

dismiss is not to “weigh the evidence that might be presented at trial but merely to determine

whether the complaint itself is legally sufficient.”).
       Scienter is adequately alleged where a company asserting regulatory compliance fails to

also disclose preliminary “observations” of potential violations made by even low-level

regulatory employees. See, e.g. Todd v. STAAR Surgical Co., 2016 U.S. Dist. LEXIS 186511,

*43 (C.D. Cal. Apr. 12, 2016) (finding scienter adequately alleged for statements of FDA

compliance where FDA inspector reported to management potential regulatory violations during

routine inspection prior to issuing a Form 483).4 Here, scienter is even stronger because the

4
  See also Wilkof v. Caraco Pharm. Labs, Ltd., 2010 U.S. Dist. LEXIS 112768, at *18-19 (E.D.
Mich. Oct. 21, 2010) (scienter adequately alleged where a company represented it was
“substantially cGMP compliant” despite receiving Form 483s noting manufacturing problems);


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communications were between the highest officials at the EPA and FCA (Marchionne and Dahl),

evidencing the seriousness of the violations. Pirnik, 2016 U.S. Dist. LEXIS 138439, at *28

(scienter adequately alleged where director of NHTSA informed Marchionne and Kunselman

that he was concerned about the slow pace of the company’s recalls). As in the FDA cases, the

correspondence “represents a risk that [EPA] may take corrective action against a company, and

thus a company is obligated to assess the seriousness of the risk and disclose such information to

potential investors if it also represents it is in compliance with [EPA] regulations.” Pub. Pension

Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 982 (8th Cir. 2012).

       The cases relied on by Defendants are inapposite as each concerns conversations with the

FDA during the FDA-approval process, which entails a well-known back-and-forth process

during which the FDA weighs the inherently positives and negatives of the application.

Moreover, the alleged false statements in each of the cases were not factual statements of current

compliance but rather forward looking statements concerning the defendants’ equivocal but

optimistic opinions on the likelihood of achieving FDA approval in the future. For example, in

General Partner Glenn Tongue v. Sanofi, the court found that the defendants’ “statement of

optimism” of a 90% likelihood of FDA approval was not rendered misleading for failure to

disclose that the FDA had expressed concerns about the defendants’ use of a single-blind study

(rather than double-blind) because (i) the FDA stated that the deficiency could be overcome; (2)
investors knew that the “Defendants and the FDA were engaged in a dialogue … about the

sufficiency of various aspects of the clinical trials”; (3) investors knew the FDA had a strong

preference for double-blind studies and (4) the “optimistic projections” were accompanied by

“numerous caveats to the reliability of the projections.” 816 F.3d 199,211-213 (2d Cir. 2016).


In re Cryolife, Inc., 2003 U.S. Dist. LEXIS 26170, at *35 (N.D. Ga. May 27, 2003) (denying a
motion to dismiss in a case involving a company’s receipt of a Form 483 noting preliminary
observations at the same time it represented it was “compliant with all FDA regulations”); Gov’t
of Guam Ret. Fund v. Invacare Corp., 2014 U.S. Dist. LEXIS 118061, *13-14 (N.D. Ohio Aug.
18, 2014) (scienter adequately alleged for statements of FDA compliance where an FDA
inspector had sent the CEO a letter identifying observations of possible violations).


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       By contrast, courts find scienter adequately alleged even for projections of FDA-approval

where the FDA informs the company of a serious concern unknown to investors. “When the

FDA tells a company about problems with a product, and the company nonetheless continues to

make confident statements about a product, courts have inferred scienter and falsity.” In re

MannKind Sec. Actions, 835 F. Supp. 2d 797, 811 (C.D. Cal. 2011) (internal quotation omitted).5

       Here, Defendants’ assurances of compliance were statements of current fact, not

optimistic projections. See Pirnik, 2016 U.S. Dist. LEXIS 138439, at *17-18. Moreover, the

EPA’s statements were not made as part of any inherent “dialogue” during the COC application

process. Rather, the EPA contacted Defendants because FCA was violating the law. Investors

had no idea that the EPA was speaking to FCA about the Trucks or that FCA’s compliance with

emissions standards was in question. Investors did not even know the AECDs existed, much less

that they were disfavored like the single-blind study in Sanofi.

       Defendants’ reliance on In re EDAP TMS S.A. Sec. Litig., is likewise misplaced. 2015

U.S. Dist. LEXIS 121960 (S.D.N.Y. Sep. 14, 2015) (Schofield, J.). In EDAP, the court found

that defendants’ optimistic statements that they believed the FDA approval process was “on

track”, making continued “progress” and moving “in a timely manner” were nonactionable

“puffery” or fell within the PSLRA’s safe harbor provision. Id. at *24. The court also found that

the company had no independent duty to disclose a Deficiency Letter that raised issues that
could weigh against approval. Id. at *31-33. Cases of this nature are inapposite because


       5
          See In re Amylin Pharmaceuticals Securities Litigation, 2003 U.S. Dist. LEXIS 7667, at
*23 (S.D. Cal. May 1, 2003) (“[T]he concerns raised by the FDA in the 1997 meeting were much
more significant than a ‘bump on the road’ and shed serious doubt on the sufficiency of the
trials.” Accordingly, Defendants were obligated to disclose the FDAs concerns to render their
statement not misleading.); Kaplan v. Rose, 49 F.3d 1363, 1374 (9th Cir. Cal. 1994) (“Although
a prospectus should not bury the shareholders in an avalanche of trivial information, [the study
results were] not trivial, as the efficacy and competitiveness of Medstones system was essential
to the company’s performance.”) (citations omitted), cert denied, 516 U.S. 810 (1995)); In re
Nuvelo, 668 F. Supp. 2d 1217, 1230 (N.D. Cal. 2009) (“[T]he SAC need not allege that
defendants knew SONOMA-2 would fail; the SAC need merely allege that defendants misled
investors by omitting to disclose a material risk that SONOMA-2 would fail.”).


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Plaintiffs allege affirmative misrepresentations of compliance, not the failure to disclose a

government investigation. Pirnik, 2016 U.S. Dist. LEXIS 138439, at *28 n.4. While not

necessary, the court addressed scienter, stating that the defendants could have “planned to

remedy the deficiencies, and still thought it would achieve FDA approval.” EDAP, 2015 U.S.

Dist. LEXIS 121960, at *35. Here, even if Defendants thought they could eventually remedy the

violations, their statements of current compliance were still false when made.6

       Courts have likewise rejected Defendants’ argument that scienter fails because they may

have believed they could change the EPA’s mind (Def. Br. at 11-12) has been rejected by courts.

E.g., STAAR Surgical, 2016 U.S. Dist. LEXIS 186511, at *43-44 (“Knowledge of FDA

observations alone may raise an inference of scienter … If Lead Plaintiff were required to allege

that Defendants ‘knew a Warning Letter was imminent,’ then it would be virtually impossible to

establish scienter at the pleading stage.”).

       Plaintiffs’ allegations of scienter here are even stronger than the vehicle-safety claims

because the concerns raised by the regulator to Marchionne and Dahl were the very same that led

to the EPA’s NOV and complaint, which caused FCA’s stock price to plummet. Pirnik, 2016



       6
          The rest of the cases cited by Defendants are inapposite for similar reasons. Youngers v.
Vitrus Inv. Partners Inc., 195 F. Supp. 3d 499, 518 (S.D.N.Y. 2016) (Pauley, J.) (finding that the
removal of potentially false statements from a registration statement upon learning that the SEC
was investigating the legitimacy of those claims does not support a strong inference of scienter);
In re Mela Scis. Sec. Litig., 2012 U.S. Dist. LEXIS 144150, at *24 (S.D.N.Y. Sep. 19, 2012)
(Briccetti, J.) (finding that none of the defendants’ statements concerning the timeliness of FDA
approval were misleading or made with scienter because they were forward looking projections
and defendants disclosed the FDA’s non-approval letter to investors); In re Alkermes Sec. Litig.,
2005 U.S. Dist. LEXIS 25826, at *49 (D. Mass. Oct. 6, 2005) (the fact that the FDA requested
additional studies during its review process did not render the defendants’ statements that they
were awaiting FDA approval misleading because they never guaranteed approval and never
made any statements about the test results). In re Medimmune, Inc., Sec. Litig., cited by
Defendants, supports Plaintiffs. 873 F. Supp. 953, 966 (D. Md. 1995). While the court found
that there was not an obligation to provide constant updates of all FDA communications during
the approval process, it found that the plaintiffs adequately alleged scienter as to the defendants’
reassurances that the FDA’s postponement of the approval hearing was not problematic because
defendants concealed that the FDA had told them that approval was at risk. Id. at 967-968.


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U.S. Dist. LEXIS 138439, at *26 (scienter adequately alleged where concerns raised by regulator

concerned different recalls than those identified in the resulting consent order).

       B.      Dahl’s and Lee’s Involvement In Designing and Programming the Trucks’
               Engines and Dahl’s and Mazure’s Responsibility For The Accuracy of The
               COC Applications Support A Strong Inference of Scienter

       It is undisputed that (1) FCA created and installed all the AECDs on the Trucks; (2) the

eight allegedly illegal AECDs were on the Trucks; (3) they, like all AECDs, were required to be

disclosed to the EPA on the COC application; and (3) while FCA disclosed every other AECD,

these eight allegedly illegal AECDS, and only these eight, were never disclosed. The only
plausible inference as to why Defendants did not disclose only these eight AECDs is that

Defendants knew that the EPA would likely find them to be illegal. This inference of scienter is

strengthened by Defendants’ subsequent concealment of emissions violations and the EPA’s

concerns, which demonstrate Defendants’ willingness to mislead investors and evade EPA

regulations. Defendants provide no competing inference.

       There is a strong inference that Defendants knew about the eight allegedly illegal AECDs

from the time FCA submitted its first COC application. The creation of the AECDs for the

diesel engine on the Trucks was a massive endeavor that involved many employees, so their

existence could be no secret. Prior to replacing Kunselman, Dahl was Director of FCA’s diesel

engine programs in the U.S. and was responsible for developing the EcoDiesel engine in the

Trucks. He also managed the certification process with the EPA for the Trucks. Lee was in
charge of the programming of the diesel engines on the Trucks. It was Dahl’s and Mazure’s

responsibility to identify all AECDs on the Trucks and disclose them in the COC application.

Defendants “knew facts or had access to information suggesting that their public statements were

not accurate” or “failed to check information they had a duty to monitor.” ECA, 553 F.3d at 199.

See, e.g., In re Scottish Re Group Sec. Litig., 524 F.Supp. 2d 370, 393–94 (S.D.N.Y. 2007)

(Scheindlin, J.) (finding implausible that sophisticated executives actively engaged in the
planning of the transactions were ignorant of their tax consequences); In re Cadence Design Sys.


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Inc. Sec. Litig., 692 F. Supp. 2d 1181, 1191-92 (N.D. Cal. 2010) (holding that an executive

officer “was at least deliberately reckless” because “[t]he competing inference, that he worked on

these [important] deals and innocently missed the most important details, is less plausible.”).

Given Defendants’ positions and responsibilities, “the nature of the relevant fact was of such

prominence that it would be absurd to suggest that management was without knowledge of the

matter.” In re MannKind Sec. Actions, 835 F. Supp. 2d at 808-09 (quoting Zucco Partners, LLC

v. Digimarc Corp., 552 F.3d 981, 1000 (9th Cir. 2009)).

       Indeed, the inference is even stronger because of Defendants’ selective disclosure. In re

AstraZeneca Sec. Litig., 559 F. Supp. 2d 453, 470 (S.D.N.Y. 2008) (Griesa, J.) aff’d sub nom.;

State Universities Ret. Sys. of Illinois v. Astrazeneca PLC, 334 F. App’x 404 (2d Cir. 2009)

(strong inference of scienter from allegations that management “is reckless in dealing” with facts

that “will necessarily prevent the regulatory approval or the marketing of the drug”); see Zagami

v. Nat. Health Trends Corp., 540 F. Supp. 2d 705, 713 (N.D. Tex. 2008) (disclosing some related

party transactions, while concealing others is evidence of scienter).7

       Defendants again make the unremarkable point that all AECDs are not necessarily illegal.

Aside from the fact that the Complaint adequately alleges that the eight AECDs at issue were

illegal (indeed, the EPA and DOJ have filed a complaint stating as much), the failure to disclose

any AECD in a COC application is itself illegal. ¶ 213.

       C.      Defendants’ Knowledge That the Trucks Were Emitting High Levels of NOx
               And Of The Removal of AECD#1 Supports a Strong Inference of Scienter

       Well before the EPA contacted Marchionne and Dahl in September 2015, Defendants

knew the Trucks were violating EPA emission regulations, yet they continued to conceal the

       7
         In re Delcath Systems, Inc. Securities Litigation, 36 F. Supp. 3d 320, 331-332 (S.D.N.Y.
2014) (Schofield, J.) (finding scienter adequately alleged where the defendants disclosed certain
data points that reflected positively on its product but failed to disclose comparative data that
might reflect poorly on its product); In re Viropharma Inc. Securities Litigation, 21 F. Supp. 3d
458 , 465 (E.D. Pa. 2014) (scienter adequately alleged where defendants submitted application to
FDA without required components and defendants were involved in the application process).


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violations. By August 2014, the VRC, which included Lee and was chaired by Kunselman (and

later Dahl) was issuing field fixes in an attempt to address the high NOx emissions. By the

summer of 2015, Defendants knew that it was the AECDs that were causing the high emissions

and assembled a dedicated team (led by Lee) to address it. The VRC also instituted a secret

“field fix” of AECD#1 rather than a recall to avoid the negative publicity. Defendants continued

to conceal the AECDs, the high NOx emissions and the removal of AECD#1. Defendants’ actual

knowledge supports scienter. Novak, 216 F.3d at 308.         As to the AECDs specifically, one

cannot remove something that one does not know exists.

       In response, Defendants submit several of the Service Bulletins referenced in the

Complaint and assert that all field fixes were reported to the EPA and CARB. None of the

Service Bulletins identify AECD#1, state that the Trucks shut-off the EGR system at highway

speeds, or that the Trucks were emitting illegal levels of NOx. Instead, each discusses the

replacement of hardware (e.g. catalysts, cylinders, DEF). Moreover, the Service Bulletin that

discusses the Malfunction Indicator Lamp illumination states that it was because the code was set

“erroneously.” Levy Decl. Ex. 3. at 2. Indeed, as evidenced by the EPA’s NOV, the EPA was

not previously informed of AECD#1 or its removal. ¶ 415.

       Finally, Defendants argue that there is not a strong inference that Marchionne knew of

the field fix since Plaintiffs have not uncovered the specific memorandum discussing it. By
doing so, they try to raise Plaintiffs’ burden of pleading scienter to an impossible “smoking gun”

level. The Complaint identifies in detail that every field fix was approved by the VRC and

reported to Marchionne in a memo within 48 hours. Indeed, Defendants have produced

numerous such memos in discovery concerning the vehicle-safety recalls. “Plaintiffs are not

required, as [Defendant] suggests … to plead the existence of specific internal reports to which

each individual had access in order to show the individual defendants knew or should have

known that their statements were false.” In re Atlas Air Worlwide Holdings, Inc. Sec. Litig., 324

F. Supp. 2d 474, 495 (S.D.N.Y 2004) (Conner, J.); see In re General Electric Co., 857 F. Supp.
2d 367, 395-396 (S.D.N.Y. 2012) (Holwell, J.) (scienter adequately alleged for statements

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concerning loan portfolio quality where “underwriting results” were regularly reported to

management even though it was uncertain that the credit or bond ratings were included in the

reports). Scienter is further strengthened because Marchionne received reports on and personally

approved all emissions software installed in the Trucks.

       D.      Additional Facts Demonstrating A Strong Inference of Scienter

       First, the paramount importance of emissions compliance coupled with the significance

of the Trucks to FCA’s bottom line support a strong inference of scienter. See Fialkov v. Alcobra

Ltd., 2016 U.S. Dist. LEXIS 42633, at *22 (S.D.N.Y. Mar. 30, 2016) (Daniels, J.) (“The majority
of courts in the Second Circuit have found that the core operations doctrine may provide support

for but not an independent basis of scienter.” (citation omitted)).”

       Second, Defendants’ false assurances in the wake of Dieselgate in an effort to distance

FCA from the scandal, followed by later admissions of non-compliance support an inference of

scienter. S.E.C. v. Musella, 748 F. Supp. 1028, 1040 (S.D.N.Y. 1989) (Wood, J.), aff’d, 898 F.2d

138 (2d Cir. 1990) (“false exculpatory statement evidences consciousness of guilt and has

independent probative value of scienter”); In re Marsh & Mclennan Cos, Inc. Sec. Litig., 501 F.

Supp. 2d 452, 486 (S.D.N.Y. 2006) (Kram, J.) (CEO’s comments supporting the company’s

business practices following news of a government investigation of misconduct, combined with

the rapid discovery of misconduct, constituted strong circumstantial evidence of scienter).8




       8
          During a July 27, 2017 earning call, Marchionne admitted that “we weren’t compliant”
with emissions regulations during the Class Period. ¶ 435. Defendants assert that Plaintiffs
misrepresented Marchionne’s statement. Def. Br. at 3-4, 14-15. This is incorrect. The transcript
of the call as reported by both LexisNexis as well as Thomson Reuters states “The important
thing is that, within the scheme of things that existed at the time we launched these vehicles, we
weren’t compliant. If there’s a way to improve that position, we will more than gladly do it.”
Declaration of Michael J. Wernke Ex.1 at 15 and Ex. 2 at 17. Indeed, if Marchionne had said
“we were in compliance” then the sentence that follows that statement would make no sense.
One cannot improve upon being in compliance. A company is either in compliance or not.
Regardless, this factual dispute is not appropriate at the motion to dismiss stage.


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       Third, Marchionne detailed discussions of emissions regulations, software and

compliance supports his scienter. If executives speak about a topic of “critical importance,” they

cannot ignore crucial information at their fingertips about it. City of Livonia Employees Ret. Sys.

v. Wyeth, 2010 U.S. Dist. LEXIS 107729, at *6, *18-19 (S.D.N.Y. Sept. 29, 2010) (Sullivan, J.).

Where, as here, “facts that contradict a high-level officer’s public statements were available

when the statements were made, it is reasonable to conclude that the speaker had intimate

knowledge of those facts or should have known of them. In re Atlas Air, 324 F. Supp. 2d at 489.

       Fourth, the ease with which the EPA, a third party, found the violations after the

Dieselgate announcement supports a strong inference of scienter. In re New Century Sec. Litig.,

588 F. Supp. 2d 1206, 1231 (C.D. Cal. 2008) (“the fact that [a] new CEO . . . discovered the

[issues] within months of taking the position is a strong indication that these [misstatements]

were obvious enough that a new officer found them quickly.”); In re Bear Stearns Cos., Inc.

Sec., Derivative & ERISA Litig., 763 F. Supp. 2d 423 , 517 (S.D.N.Y. 2011) (Sweet, J.) (finding

scienter where “JPMorgan discovered in the course of one weekend the overvaluation of assets

and underestimation of risk exposure”); In re Salix Pharms., Ltd., 2016 U.S. Dist. LEXIS 54202,

*43-44 (S.D.N.Y. Apr. 22, 2016) (Wood, J.) (finding scienter where “potential acquirers . . .

discovered Salix’s high inventory levels within days of performing their due diligence.”).

       E.      The TAC Pleads a Strong Inference of Corporate Scienter

       “[I]t is possible to draw a strong inference of corporate scienter without being able to
name the individuals who concocted and disseminated the fraud.” Teamsters Local 445 Freight

Div. v. Dynex Capital Inc., 531 F.3d 190, 195-96 (2d Cir. 2008) (citation omitted). The person

who made the statement need not be the person with the requisite scienter. See Solow v.

Citigroup, Inc., 827 F.Supp. 2d 280, 291 (S.D.N.Y. 2011) (Sweet, J.). “While there is no simple

formula for how senior an employee must be in order to serve as a proxy for corporate scienter,

courts have readily attributed the scienter of management-level employees to corporate
defendants.” In re Marsh & McLennan Cos. Sec. Litig., 501 F. Supp. 2d at 481; see also In re JP


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Morgan Chase Sec. Litig., 363 F. Supp. 2d 595, 627 (S.D.N.Y. 2005) (Stein, J.) (attributing

knowledge of a Vice Chairman, a Vice President and a Managing Director to the corporate

defendant); In re BISYS Sec. Litig., 397 F. Supp. 2d 430 , 443 (S.D.N.Y. 2005) (Kaplan, J.)

(attributing the fraudulent behavior of senior management to the corporate defendant).

       Here, it required numerous FCA employees to develop, program, install and test the eight

AECDs. It is not plausible to infer that some low-level rogue employee had the motive or means

to create the AECDs, conceal them from the COC applications as well as the reports to Lee and

Marchionne, and remove AECD#1. Rather, the only reasonable inference is that given the

importance of the Trucks’ emissions compliance someone in management knew. See, e.g., In re

MBIA, Inc. Sec. Litig., 700 F. Supp. 2d 566, 591 (S.D.N.Y. 2010) (Karas, J.) (finding corporate

scienter where the company asserted that it had carefully reviewed all CDO’s except the alleged

illegal ones); In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig.,

2017 U.S. Dist. LEXIS 1109, at *839 (N.D. Cal. Jan. 4, 2017) (“‘[t]he clean diesel’ vehicles

were an integral part of Volkswagen’s ‘Strategy 2018’ … it is reasonable to infer that at least

some corporate officials knew VW was falsely touting the emissions compliance….”).

           F. The Statements Of The Confidential Witnesses Should be Credited

       Defendants incorrectly argue that Plaintiffs have not sufficiently identified CW3. Def.

Br. at 22. Confidential sources are sufficiently identified where they “are described in the

complaint with sufficient particularity to support the probability that a person in the position
occupied by the source would possesses the information alleged.” Novak, 216 F.3d at 314. There

is no requirement that confidential witnesses have personal contact with the individual

defendants. See, e.g. In re Scottish re Gp. Sec. Litig. 524 F. Supp. 2d at 392-93.

       Here, the Complaint identifies CW3’s position, location and employment dates. CW3

was a Program Manager of Advanced Powertrain, located at the Auburn Hills, Michigan facility

from June 2013 through September 2015. Lee was Head of Powertrain Coordination in Auburn
Hills. He was responsible for the programming of the engines in the Trucks, he received reports


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on all software, was a member of the VRC and reported on emissions to the board of directors

(along with Kunselman and Dahl). CW3 was in a position to possess the information provided –

that CW3’s colleagues were being pulled onto a team ran by Lee to address high NOx emissions

caused by the software. See In re General Electric Co., 857 F. Supp. 2d at 389 (crediting

confidential witnesses that are described by title and employment years: “Both worked as

managers within the real estate group, so it is probable that a person in such a position would

have information regarding GE’s practices with regards to troubled loans”); Cornwell v. Credit

Suisse Group, 689 F. Supp. 2d 629, 638 (S.D.N.Y. 2010) (Marrero, J.) (confidential witnesses

identified by title and employment year identifying the basis for their statement that “everyone

knew” of significant problems with the company’s risk management sufficient to support an

inference of scienter); In re Alstom SA Sec. Litig., 406 F. Supp. 2d 433, 505 (S.D.N.Y. 2005)

(Marrero, J.) (allegations of “widespread internal knowledge” sufficient to support scienter); In

re NovaGold Resources Inc. Securities Litigation, 629 F. Supp. 2d 272, 300 (S.D.N.Y. 2009)

(Cote, J.) (“The confidential witnesses have described widespread knowledge at NovaGold that

the Project was over budget and that the Hatch Study’s figures were inaccurate.”).9

       G.      The Inference Of Scienter Is At Least As Strong As
               Defendants’ Asserted Non-Culpable Inference

       In order for the Court to find that Plaintiffs have failed to allege scienter, the Court would

have to infer that despite Defendants’ positions, duties to monitor, the reports and memos they

received, as well as their specific knowledge of high NOx emissions, the AECDs and the EPA’s

concerns, neither they nor anyone in management should have known their statements of

compliance could mislead investors. While one may be able to stretch their imagination to make

such a non-culpable inference, the Court is not permitted to do so at this stage. “When ruling on

       9
          The cases relied on by Defendants are distinguishable. Local No. 38 Intern. Broth. of
Elec. Workers Pension Fund v. Am. Exp. Co., 724 F. Supp. 2d 447, 461 (S.D.N.Y. 2010)
(Pauley, J.) (none of the confidential witnesses asserted that any defendant received information
contradicting their public statements); Campo v. Sears Holdings Corp., 371 F. App’x 212, 217
(2d Cir. 2010) (same). Here, CW3 stated that Lee knew of the emissions violations and software.


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a motion to dismiss … the Court must … draw all reasonable inferences in the plaintiff’s favor.”

Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014). The inference of scienter is certainly not only at

least as strong as a non-culpable inference, it is the only reasonable inference.10
 II.   The New Defendants Are Liable As “Makers” Of False
       and Misleading Statements And As Control Persons

       In granting Plaintiffs leave to amend, the Court placed no restriction on what additional

facts could be included in the amended complaint. Rather, the Court stated that Plaintiffs could

add “their unspecified ‘additional facts’ or otherwise…” ECF No. 121 at 13. Through continued

investigation, Plaintiffs discovered that several high-level FCA officials (including Dahl, Lee
and Mazure) were aware of the diesel emissions violations and the EPA’s concerns. This

information necessitated adding these individuals and FCA US as defendants as well as

additional alleged false statements for which they had scienter.

       Defendants argue that none of the new Defendants are “makers” of statements under

Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011). Def. Br. at 23-

25. Janus “does not imply that there can be only one ‘maker’ of a statement” or “alter the well-

established rule that a corporation can act only through its employees and agents.” See

Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 56 F. Supp. 3d 549, 558 (S.D.N.Y.

2014) (Scheindlin, J.) (citation omitted); City of Roseville Emples. Ret. Sys. v. EnergySolutions,

Inc., 814 F. Supp. 2d 395, 416-417 (S.D.N.Y. 2011) (Koeltl, J.) (finding that two entities and

eleven individuals had ultimate authority over same statements).
       Janus addressed only whether third parties can be held liable for statements made
       by their clients . . . and has no bearing on how corporate officers who work together
       in the same entity can be held jointly responsible on a theory of primary liability.

       10
           Citing their own self-serving denials of wrongdoing, Defendants assert that the Court
should infer from Plaintiffs’ allegations that Defendants at all times believed that the Trucks
complied with emissions regulations. Def. Br. at 14-15. Defendants’ denials of wrongdoing are
accorded zero weight at the motion to dismiss stage. Moreover, Defendants’ subjective belief is
irrelevant. The question is whether the inference that Defendants knew or should have known
their statements could mislead investors is at least as strong as the inference that Defendants
should not have known. Tellabs, 551 U.S. at 324; Novak, 216 F.3d at 308.


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Barclays, 56 F. Supp. at n.56 (citation omitted). Management level officials, like Lee, Mazure

and Dahl, are routinely found to be “makers” of statements concerning their area of

responsibility. E.g., STAAR Surgical, 2016 U.S. Dist. LEXIS 186511 at *36-37 (vice president

in charge of regulatory compliance adequately alleged to be a “maker” of the company’s

statements of compliance because “it is reasonable to infer that the statements at issue were

initially made by Defendant Santos or at least with his advice and consent.”).

       Defendants argue that Lee’s December 2, 2015 statements are not actionable. Def. Br. at

23. Lee stated in the wake of Dieselgate that his team scoured the code in the Trucks’ engines

for any defeat devices and found none. ¶ 339. This was misleading because he knew of the

undisclosed AECDs and of the EPA’s determination that defeat devices did exist.

       Defendants also assert that the statements made by Mazure in the COC application that

the Trucks complied with all EPA emissions regulations and had disclosed all AECDs are not

actionable because the Complaint states Mazure signed the applications “on behalf of Chrysler.”

Defendants’ semantics must be rejected. Mazure signed the statements to the EPA as an official

of FCA US, and the phrase “on behalf of” appears nowhere on the application. See Levy Decl.

Exs. 18 and 19. An individual is a maker of statements that he signs. EnergySolutions, Inc., 814

F. Supp. 2d at 417. As discussed above, Janus does not apply to individuals signing statements

in their capacity as management or spokesperson for the defendant company.
       Defendants’ argument that their statements of compliance with EPA regulations made in

its COC applications are not actionable because they were not specifically directed to investors

(Def. Br. at 24) is curious given that similar statements of compliance were included in FCA’s

periodic reports and in press releases. ¶¶ 272-276, 348-353. “As the Supreme Court has noted,

‘market professionals generally consider most publicly announced material statements about

companies, thereby affecting stock market prices.’” In re Carter-Wallace, Inc. Sec. Litig., 150

F.3d 153, 156 (2d Cir. 1998) (reversing dismissal of § 10(b) claim based on misrepresentations

in product advertisements) (quoting Basic, 458 U.S. at 247 n.24). It is irrelevant whether the
false statements were “made for the purpose or object of influencing the decisions of market

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participants.” Muzinich & Co. v. Raytheon Co., 2002 U.S. Dist. LEXIS 26962, at *9 (D. Idaho

Apr. 30, 2002). Defendants’ “fraud could be ‘in connection with’ the sale of securities even if

[Defendants] had no intent to influence investors.” Id.11

       Finally, Defendants half-heartedly assert in a footnote that Section 20(a) control person

liability has not been alleged because Plaintiffs have not alleged “control” as to Dahl, Lee and

Mazure. Def. Br. at 25 n.8. Determining an individual defendant’s liability as a control person is

a “fact-intensive inquiry[ ] [that] generally should not be resolved on a motion to dismiss.” In re

BioScrip, Inc. Sec. Litig., 95 F. Supp. 3d at 741 (citation omitted). Control can be established by

pleading facts supporting a reasonable inference that the control person “possessed the power to

direct or cause the direction of the management and policies” of the primary violator. SEC v.

First Jersey Sec., Inc., 101 F.3d 1450, 1472-73 (2d Cir. 1996) (internal quotations omitted).

Here, Dahl, Lee and Mazure were all high-level FCA officials that were consulted as to and in a

position to control the public statements issued by the Company. “[C]ourts routinely find that

‘control person liability’ is pled adequately where the defendant has responsibility over an area

of the company where the underlying fraudulent conduct occurred.” Kiken v. Lumber Liquidators

Holdings, Inc., 155 F. Supp. 3d 593, 610 (E.D. Va. 2015) (collecting cases).

                                         CONCLUSION

        Defendants’ motion to dismiss the emissions-related claims should be denied.


Dated: September 21, 2017                        Respectfully submitted,

       11
           The cases upon which Defendants rely are inapposite. Richman v. Goldman Sachs
Grp., Inc., 868 F. Supp. 2d 261, 279 (S.D.N.Y. 2012) (Crotty, J.) distinguished acts that deceive
a company’s own shareholders from those that deceive investors in the securities of another
company, not whether statements were primarily directed at investors versus regulators or
consumers. Moreover, the court found that the statements were directed to the company’s own
shareholders. In In re Citigroup, Inc., 330 F. Supp. 2d 367, 377 (S.D.N.Y. 2004) (Swain, J.), the
court dismissed the claims because the plaintiff failed to identify any false disclosure, instead
merely alleging that the company should have conducted its business differently. Here, Plaintiffs
have identified false public statements about the Company.


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